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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) CHAPTER 11
) (Jointly Administered)
W.R. GRACE & CO., et al., )
) Case No. 01-01139 (IKF)
Debtors. )
)
CERTIFICATE OF SERVICE

I, Christopher D. Loizides, hereby certify that on April 27, 2009, true and correct copies
of ANDERSON MEMORIAL HOSPITAL’S NOTICE OF APPEAL were served on the
parties listed on the attached service list in the manner indicated thereon.

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